
Motion to amend remittiturs granted. Return of remittiturs requested and, when returned, they will be amended by adding thereto the following: Upon the appeals herein there were presented and necessarily passed upon questions under the Constitution of the United States, as follows: Defendants contended that subdivision 7 of section 887 of the Code of Criminal Procedure violates the clue process clause of the Fourteenth Amendment of the Constitution of the United States by reason of vagueness, indefiniteness and uncertainty in its wording and that it is an unreasonable and arbitrary exercise of the police power for the Legislature to enact a statute regulating the dress of citizens. The Court of Appeals held that there was no such violation. [See 15 N Y 2d 529.]
